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EXHIBIT “A”

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

X CHAPTER 13
IN RE: CASE NO.: 1-17-44337
Neil Grannum

DEBTOR(S).

 

 

CHAPTER 13 PLAN

[E Check this box if this is an amended plan. List below the sections of the plan which have been changed:
Proposed Moditied Plan (Sixth Amended):
Part 2.l and Part 4.3

PART l: NOTICES

’1`0 Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the op
tion is appropriate in your circumstance or that it is permissible in your judicial district Plans that do not comply with the local rules for the Eastern
District of New York may not be confirmable. lf you do not have an attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated You should read this plan carefully an
d discuss it with your attorney. If you do not have an attorney, you may wish to consult one. If you oppose the plan’s treatment of your claim or any
provision of this plan, you or your attorney must file an objection to confirmation at least 7 days before the date set for the hearing on contirmation, u
nless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

l.l: The following matters may be of particular importance Debtors must check one box on each line to state whether or not the plan includes
each of the following items. if an item is checked as “Not lncluded” or if both or neither boxes are checked, the provision will
be ineffective if set out later in the plan.

 

 

 

 

a. A limit on the amount ofa secured claim, set out in Section 3.4, which may result in [:l included [E Not Inc|uded
a partial payment or no payment at all to the secured creditor

b. Avoidance ofa judicial lien or nonpossessory, non-purchase-money security interest, j:] Inc|uded 1:¢] Not Inc|uded
set out in Section 3.6

c. Nonstandard provisions, set out in Part 9. [:l included [§§ Not Inc|uded

 

 

1.2: The following matters are for informational purposes

 

 

 

 

a. The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal ij Inc|uded § Not Inc|uded
residence, set out in Section 3.3

b. Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely [§:l included m Not Inc|uded
filed claim

 

 

 

 

 

PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall pay to the
Trustee for a period of6_0 months as follows:

$ 1,050.00 per month commencing Segtember 2017 through and including October 2017 for a period of 2 months.
$ 1,150.00 per month commencing November 2017 through and including January 2019 for a period of § months; and

$ 1,095.00 per month commencing Februag( 2019 through and including October 2022 for a period of 55 months.
lnsert additional lines if needed

2.2: Income tax refunds.

If general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the pendency of this case, the Debtor(s) w
ill provide the Trustee with signed copies of filed federal and state tax returns for each year commencing with the tax year , no later than April l
Sth of the year following the tax period. lndicated tax refunds are to be paid to the Trustee upon receipt, however, no later than June 15th of the

year in which the tax returns are filed.

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Debtor Neil Grannum

2.3: Additional payments.
Check one.

Case number

§§ None. lf "`None” is checked the rest of § 2.3 need not be completed or reproduced

PART 3: TREATMENT OF SECURED CLAIMS

3.1.: Maintenance of payments (including the debtor(s)’s principal residence).

Check one.

lj None. If "None” is checked the rest of § 3.1 need not be completed
§§ Debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed

directly by the debtor(s).

 

 

  

 

Name of Creditor Last 4 Digits of Accou"nt Principal Residence (o}i`eck Description of Collatefal t
' Number ` box) o ~ '

Exeter Finance 1001 [:j 2013 Mercedes Benz
C300 34,500 miles
Va|ue by
www.nacla.com

chen Loan Servicing, 4986 [:} 21 Woodfair Lane Pa|m

LLC Coast, FL 32164
F|agler County
Va|ue by
www.zi|low.com

chen Loan Servicing, 3266 [@ 102-21 Avenue L

LLC Brooklyn, NY11236
Va|ue by
www.zil|ow.com

PennyMac Loan 5082 |:] 153-155 Genesee Park

Servicing B|vd,
Rochester, NY 14619
Va|ue by
www.zi|low.com

3.2 Cure of default (including the debtor(s)’s principal residence).

Check one

ij None. lf "None" is checked the rest of § 3.2 need not be completed or reproduced

§§ Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with nterest, if any, at the rate
stated below. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under
Bankruptcy Rule 3002(c) control over any contrary amounts listed below. ln the absence of a contrary timely filed proof of

claim, the amounts listed below are controlling

Name of Creditor Last 4 Digits of Acct Principal Residence
No. (check box)

chen Loan 4986 |:j

Servicing, LLC

chen Loan 3266 [E

Servicing, LLC

PennyMac Loan 5082 [:l

Services LLC

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Description of
Collateral

21 Woodfair Lane
Pa|m Coast, FL
32164 F|agler
County

Va|ue by
www.zi|low.com
102-21 Avenue L,
Brooklyn, NY 11236
Va|ue by
www.zi||ow.com

153~155 Genesee
Park Blvd,
Rochester, NY
14619

Amount Arrearage

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1-17-44337

 

Current Installmen ~

, Payment (I_ncltii‘liiig

escrow)

500.00

$749.00

$2,145.00

$1,102.00

interest Rate

s47,ooo.oo o§oo%

$8,311.62 0.00%

$3504.08

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Debtor Neil Grannum Case number 1-17-44337

Va|ue by

www.zi|low.com
New York City 3001 l:] 102-21 Avenue L, 2550.65 6%
Water Board Brooklyn, NY 11236

Va|ue by

www.zillow.com

3.3: Modification ofa mortgage secured by the debtor(s)’s principal residence.
Check one

[zi The debtor(s) is not seeking to modify a mortgage secured by the debtor’s principal residence.
[:l The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence

Complete paragraph below.
[:j If applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage due to (creditor name) on the property known as under account number ending (last four digits of account
number) is in default All arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due to the
mortgagee totaling $ may be capitalized pursuant to a loan modification The new principal balance, including capitalized arrears will be
$ , and will be paid at % interest amortized over years with an estimated monthly payment of $ including interest and
escrow of $ . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is pending and until such time as the
debtor(s) has commenced payment under a trial loan modification Contemporaneous with the commencement of a trial loan modification, the
debtor(s) will amend the Chapter 13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the secured

creditor going forward by the debtor(s).

 

3.4: Request for valuation of security, payment of fully secured claims, and modification of under-secured claims,
Check one.

§§ None. lf "None" is checked the rest of § 3.4 need not be completed or reproduced
The remainder of this paragraph will be effective only if the applicable box in Part l of this plan is checked

m The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim shall be paid pursuant to
order of the court upon determination of such motion.
3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Check one.
[Q] None. lf "None" is checked, the rest of § 3.5 need not be completed or reproduced

3.6: Lien avoidancel

Check orle.
iii None. If "None" is checked the rest of § 3.6 need not be completed or reproduced

3.7: Surrender of collateral.

Check one.
g None. If "None” is checked, the rest of § 3.7 need not be completed or reproduced

PART 4: TREATMENT OF FEES AND PRIORITY CLAlMS
4.1: General.
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in §4.5, will be paid in full without

post-petition interest

4.2: Trustee’s fees.
Trustee’s fees are governed by statute and may change during the course of the case.

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4.3: Attorney’s fees.
The balance of the fees owed to the attorney for the debtor(s) is $2,500.00.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

Check one.
m None. If “None" is checked the rest of § 4.4 need not be completed or reproduced

New York State Department of Taxation and Finance
4.5 Domestic support obligations

Check one.
IE None. If “None” is checked the rest of § 4.5 need not be completed or reproduced

PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAlMS
Allowed nonpriority unsecured claims will be paid pro rata:
m Not less than the sum of $

[E Not less than 1_QQ_% of the total amount of these claims.
l:l From the funds remaining after disbursement have been made to all other creditors provided for in this plan.

 

lf more than one option is checked the option providing the largest payment will be effective
PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as specified All other executory contracts
and unexpired leases are rejected

Check one.

§ None. lf "None” is checked the rest of § 6.l need not be completed or reproduced

PART 7: VESTlNG OF PROPERTY OF THE ESTATE
Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the debtor(s) upon completion of the plan.
PART 8: POST-PETITION OBLIGATIONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support obligations are to be made directly by the
debtor(s) unless otherwise provided for in the plan

8.2: Throughout the term of this Plan, the debtor(s) will not incur post~petition debt over $2,500.00 without written consent of the Trustee or by
order of the Court.

PART 9: NONSTANDARD PLAN PROV!SIONS
9.1: Check "None" or list nonstandard plan provisions

l§§ None. lf "'None” is checked the rest of Part 9.1 need not be completed

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Debtor Nei| Grannum Case number 1 -17-44337
PART 10: CERTIFICATION AND SIGNATURE(S):

10.1: l/we do hereby certify that this plan does not contain any nonstandard provisions other than those set out in the final paragraph
X /sl Neil Grannum

Neil Grannum Signature of Debtor 2

Signature of Debtor l

 

Executed on January 9, 2019 Executed on

X /s/ Da rren Aronow
Darren Aronow 4094074
Signature of Attorney for Debtor(s)
Dated: January 9, 2019

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